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                               No. 22-11873
                                  IN THE
                    United States Court of Appeals
                                 FOR THE
                            Eleventh Circuit
  ANGEL GUZMAN, BURKE MINAHAN, CHRISTOPHER MILLER, TERELL STERLING,
                                                   Plaintiffs-Appellants,
                                    v.
         ROBINHOOD FINANCIAL LLC, ROBINHOOD SECURITIES, LLC,
     ROBINHOOD MARKETS, INC., CITADEL LLC D.B.A. CITADEL SECURITIES,
                                                     Defendants-Appellees.


           ON APPEAL FROM THE UNITED STATES DISTRICT COURT
                FOR THE SOUTHERN DISTRICT OF FLORIDA
        HONORABLE CECILIA M. ALTONAGA, CHIEF U.S. DISTRICT JUDGE
                       NO. 1:21-MD-02989-CMA

       ANSWERING BRIEF OF DEFENDANTS-APPELLEES
  ROBINHOOD FINANCIAL LLC, ROBINHOOD SECURITIES, LLC &
               ROBINHOOD MARKETS, INC.

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December 14, 2022
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                      Certificate of Interested Persons and
                        Corporate Disclosure Statement

            Pursuant to Federal Rule of Appellate Procedure 26.1 and 11th Circuit

Rules 26.1-2 and 26.1-3, the undersigned counsel hereby certify as follows:

            Defendants-Appellees Robinhood Financial LLC and Robinhood

Securities, LLC are wholly owned subsidiaries of Robinhood Markets, Inc.

(NASDAQ: HOOD), and no publicly-traded corporation has a 10% or greater

ownership interest in Robinhood Financial LLC, Robinhood Securities, LLC or

Robinhood Markets, Inc. (collectively, “Robinhood”).

            The following is a complete list, in alphabetical order, of interested

persons:

1.    Altonaga, Cecilia M. (U.S. District Judge)

2.    Bartlit Beck LLP

3.    Burck, William A.

4.    Castellanos Alvarado, María

5.    Citadel Securities, LLC

6.    Cravath, Swaine & Moore LLP

7.    Danon, Samuel A.

8.    Fountain, Peter H.

9.    Furst, Rachel W.

10.   Grossman Roth Yaffa Cohen, P.A.

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21.   Miller, Christopher

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23.   Orsini, Kevin J.

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27.   Robinhood Financial LLC

28.   Robinhood Markets, Inc. (HOOD)

29.   Robinhood Securities, LLC

30.   Robinson, Dawson

31.   Ryan, Antony L.

32.   Saveri, Joseph R.

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33.   Schirripa, Frank R.

34.   Sterling, Terell

35.   Sukiennik, Brittany L.

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                                 Inc.




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              STATEMENT REGARDING ORAL ARGUMENT

             Robinhood respectfully submits that oral argument is not necessary to

address the issues presented by this appeal, and that this Court should affirm the

District Court’s dismissal with prejudice of Plaintiffs-Appellants’ claims.




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                             STATEMENT OF ISSUES

1.          On January 27, 2021, trading by retail investors precipitously increased

the price and volatility of stocks that had gained cult-like followings on social

media, and clearinghouses imposed additional collateral requirements on

brokerages, requiring $3 billion of increased collateral from Robinhood alone.

Robinhood (like other non-defendant brokerages) shortly thereafter restricted their

customers from buying these volatile “meme stocks.” Was it proper for the

District Court, which comprehensively considered Plaintiffs-Appellants’

(“Plaintiffs’”) allegations and found that they did not plausibly allege an unlawful

agreement between Robinhood and Citadel Securities, to consider the obvious

alternative explanation that Robinhood restricted trading because its clearinghouse

required it to post $3 billion in additional collateral?

2.          Plaintiffs alleged that Robinhood and Citadel Securities had a vertical

relationship and operated in two markets—a downstream “No-Fee Brokerage

Trading App Market” and an upstream “PFOF Market”—but they claimed harm in

an unidentified third market for trading the Relevant Securities. Was it proper for

the District Court to hold that Plaintiffs failed to plausibly allege anticompetitive

harm in a relevant market?
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                                INTRODUCTION

             In late January 2021, the stock market experienced unprecedented

levels of volatility for GameStop and other stocks (so-called “meme stocks”),

garnering extensive public attention. The meme-stock short squeeze underlying

this litigation resulted in a record-breaking volume of trading activity and

skyrocketing stock prices for certain stocks (which Plaintiffs define as the

“Relevant Securities”). As these events unfolded, Robinhood—along with

numerous other broker-dealers who are not alleged to have been part of the

purported conspiracy—implemented measures designed to avoid potentially

catastrophic market risk.

             Specifically, in the early morning hours of January 28, 2021,

Robinhood made the difficult decision to restrict purchases of the Relevant

Securities on its mobile application and website after Robinhood received an

unprecedented collateral call of $3 billion from the National Securities Clearing

Corporation (“NSCC”). That collateral call represented a twenty-four fold increase

from earlier in the week, and was more than four times what was required the day

before. Robinhood took these measures for the purpose of reducing the deposit

requirements imposed by the NSCC. A failure to meet those obligations could

have led the NSCC to suspend the ability for all customers to trade in all securities

through Robinhood.


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             Despite the logical (and actual) explanation that Robinhood imposed

the challenged restrictions due to market conditions and the $3 billion NSCC

collateral call, Plaintiffs instead allege that Robinhood did so as part of a

clandestine illegal conspiracy with Citadel Securities to mitigate the latter’s

supposed losses from the short squeeze. Plaintiffs weave this tale of conspiracy

together out of whole cloth, ignoring the fact that many other brokers (who

Plaintiffs once alleged were part of a vast conspiracy but have since dropped from

the case) similarly imposed trading restrictions on January 28, 2021. The decision

below dismissing this case should be affirmed for two independent reasons.

             First, the District Court properly dismissed the case for failure to

plead the existence of an unlawful agreement. As the Court explained, “Plaintiffs

do not plausibly allege that Robinhood had” a motive to enter into the alleged

conspiracy, and “juxtaposed with the compelling alternative explanation for the

trading restrictions—the increased collateral requirements imposed by the NSCC

in response to historic market volatility—Plaintiffs’ theory is speculative and

implausible.” (Op. 51-52.)1 Plaintiffs had access to more than ten thousand pages

of documents produced by Robinhood and Citadel Securities from the critical time

period before amending their complaint multiple times, yet repeatedly failed to


    1
     Citations to “Op.” refer to the District Court’s order granting the motion to
dismiss the Amended Complaint (Dkt.470).

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allege even a plausible inference of conspiracy—never mind direct evidence of

one.

             Second, the District Court correctly dismissed Plaintiffs’ claim for

failure to plead other required elements of a Section 1 conspiracy claim. Because

Plaintiffs have pleaded a vertical agreement, their claim must be analyzed under

the rule of reason. As a result, they must plausibly allege that the challenged

conduct harmed competition in a relevant alleged market. Plaintiffs allege two

different markets: an upstream “PFOF” market-maker market in which Citadel

Securities allegedly competes, and a downstream “No-Fee Brokerage Trading App

Market” in which Robinhood allegedly competes. Plaintiffs do not allege harm to

competition in either of those markets. Instead, Plaintiffs allege there was a

reduction in prices for the Relevant Securities (which is not itself even a harm to

competition) that took place in an undefined, separate market(s) for trading in the

Relevant Securities, where Plaintiffs do not—and cannot—allege that either

Defendant has market power. As the District Court correctly observed, “Plaintiffs

ignore the reality of their suit: they allege that Defendants caused harm to the

market for Relevant Securities, but they neglect to define that market.” (Op. 52.)

             This Court should affirm the District Court decision.




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                             STATEMENT OF THE CASE

I.       STATEMENT OF FACTS.

         A.   The Parties.

              Robinhood Financial is a customer-facing, introducing broker-dealer

through which retail investors can place commission-free trade orders. (AAC

¶¶ 68-69.2) Plaintiffs allege that Robinhood participates in the “No-Fee Brokerage

Trading App Market,” which “consists of brokerages such as Robinhood, Charles

Schwab, E*Trade, TD Ameritrade, WeBull, and others.” (Id. ¶¶ 312-313.)

Robinhood Financial is affiliated with Robinhood Securities, a clearing broker

that takes and processes trade orders for Robinhood Financial customers.

(Id. ¶ 44.) Both Robinhood Financial and Robinhood Securities are wholly owned

by Robinhood Markets. (Id. ¶ 42.)

              Citadel Securities is a market maker. A “market maker” is an entity

that stands ready to fill orders for a particular security, and upon receiving an order

from a broker, fills that order with available inventory or by sourcing liquidity

from an exchange or other market venue. (Id. ¶¶ 8-10.) Citadel Securities is one

of many market makers, and has numerous competitors including G1 Execution

Services, Global Execution Brokers, Two Sigma Securities, LLC, Wolverine



     2
   Citations to “AAC” refer to the Amended Consolidated Class Action
Complaint (Dkt.451).

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Securities, LLC and Virtu Americas, LLC. (Id. ¶¶ 281, 306-307.)

             Robinhood has business relationships with multiple market makers,

including Citadel Securities, Virtu Americas, Two Sigma Securities, G1 Execution

Services and Wolverine Securities, by which Robinhood Securities routes

customer trade orders to those market makers in exchange for a fee, known as

“payment for order flow” (“PFOF”). (Id. ¶¶ 78, 84, 319.)3 Other retail broker-

dealers, such as Charles Schwab, E*Trade, TD Ameritrade and Webull, and

clearing brokers such as Apex Clearing Corporation (“Apex”), have similar PFOF

business relationships with market makers. (Id. ¶ 76; SA169, SA176.) The net

amount of PFOF revenue that a broker generates is based in part on the volume of

order flow it routes to different market makers. (AAC ¶¶ 75, 221.) This practice is

long-standing and accepted by the SEC. See 17 C.F.R. § 240.10b-10. (See also

AAC ¶¶ 79-80.) Because Robinhood generates the majority of its revenue through

receipt of PFOF from market makers (id. ¶ 75), Robinhood (as with other retail

brokers) is able to offer commission-free trading to retail investors (id. ¶¶ 73, 221).

Market makers generate revenue by capturing a portion of the “spread” between



    3
     See also Robinhood Securities, LLC SEC Rule 606 Report (Apr. 29, 2021),
available at https://cdn.robinhood.com/assets/robinhood/legal/RHS%20SEC%
20Rule%2060 6 %20and%20607%20Disclosure%20Q1%202021.pdf (last
accessed Dec. 13, 2022) (identifying venues to which Robinhood Securities
directed order flow in January 2021).

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the bid and ask prices for securities trade orders. (Id. ¶¶ 74, 85.)

      B.     The Mechanics of Securities Trading.

             Robinhood customers may use Robinhood’s application to place trade

orders on their own behalf. (AAC ¶¶ 6, 68.) Once a trade is placed on

Robinhood’s platform, and Robinhood accepts the trade order, Robinhood

Financial sends the order to Robinhood Securities, which in turn routes the order to

a market maker to execute the trade. (Id. ¶¶ 83-84.) Because Robinhood must

route orders to market makers, Robinhood has ongoing business relationships with

those entities that require regular communications in the ordinary course of

business.

             After receiving a customer trade order from a clearing broker, such as

Robinhood Securities, market makers are responsible for processing and executing

the trade order on the customer’s behalf. (Id. ¶¶ 83-84.) Market makers handle

trade orders by filling purchase and sell orders with their inventory, or by routing

that order to an exchange or other venue. (Id. ¶¶ 8-10.) After a market maker fills

the order, the trade is sent to a clearing agency (also known as a clearinghouse),

such as the NSCC. (Id. ¶ 87.) The NSCC clears cash transactions by netting

securities deliveries and payments among its members and guaranteeing

completion of trades even if a party defaults. (Id. ¶ 88.) At all relevant times, the

settlement period for the clearing agency to transfer the stock to the buyer and


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funds to the seller was two days. (Id. ¶ 87.)

             The two-day period between execution and settlement creates a risk

that a party to the transaction will default. (Id. ¶¶ 87, 90.) A number of protections

are in place to reduce this risk. One protection key to this case is that clearing

agencies require brokers, such as Robinhood Securities, to pay a deposit to the

clearing agency until trades are settled. (Id.) The deposit amount is based largely

on risk algorithms that calculate the amount based on, among other things, a firm’s

customer holdings and market volatility. (Id. ¶ 90.) To clear and settle customer

transactions, brokers engaged in clearing services must satisfy the NSCC deposit

requirements. (Id. ¶¶ 88-90, 181.) These deposit requirements exist to make sure

that if a party defaults on a transaction during the two-day settlement period, the

cash nonetheless will be available to settle a trade. (Id. ¶ 88.) This provides

critical certainty and stability to the stock market and protects all investors. (Id.

¶¶ 88, 90.) If a broker fails to timely satisfy its deposit requirements, it risks being

“shut down” by the NSCC. (Id. ¶¶ 90, 181-182.)

      C.     The Unprecedented Market Volatility of January 2021.

             January 2021 was marked by a series of unprecedented market events.

(AAC ¶¶ 135-137, 175-178.) Investors—connected through social media

platforms and online forums—banded together to cause “short squeezes” by

buying GameStop Corp. (“GME”), AMC Entertainment Holdings, Inc. (“AMC”)


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and other stocks they perceived to be the target of short selling activity by

institutional investors (the “Relevant Securities”).4 (Id. ¶¶ 95-97, 132.) Their

activity resulted in “soar[ing]” prices and “volatility” in the markets where the

Relevant Securities were traded. (Id. ¶¶ 137, 144.) For example, on January 27,

GME’s price closed at $347.51 per share, a 707.6% increase from just five trading

days earlier. (Id. ¶ 137.) The trading price increase for GME is reflected in the

graph below.5

                                            GME: Daily Low/High Price and Closing Price
                   $380

                   $340                                                                                                     $347.51

                   $300

                   $260

                   $220
 Close Price ($)




                   $180

                   $140                                                                                     $147.98

                   $100
                                                                                            $76.79
                       $60
                                                                              $65.01
                                    $39.36        $39.12        $43.03
                       $20
                             1/19/2021     1/20/2021     1/21/2021     1/22/2021     1/25/2021       1/26/2021        1/27/2021




                   4
    Plaintiffs define the “Relevant Securities” as GME, AMC, Bed Bath &
Beyond Inc. (“BBBY”), Blackberry Ltd. (“BB”), Express, Inc. (“EXPR”), Koss
Corporation (“KOSS”), Nokia Corporation (“NOK”), Tootsie Roll Industries, Inc.
(“TR”) and Trivago N.V. (“TRVG”). (AAC ¶ 7.)
                   5
      See Market Activity, NASDAQ, https://www.nasdaq.com/market-activity (last
visited Dec. 13, 2022). The Court may take judicial notice of this stock
information. See La Grasta v. First Union Sec., Inc., 358 F.3d 840, 842 (11th Cir.
2004) (taking judicial notice of stock information at the motion to dismiss stage).

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              The following chart shows the total daily trading volume for the

Relevant Securities throughout the week.

                                    Total Daily Trading Volume (Shares)
     3,500M                                                                        3,317M


     3,000M

     2,500M

     2,000M
                                                              1,680M
                                                                          1,432M
     1,500M

     1,000M                                         732M

               386M          394M
      500M                                230M

        0M
              1/19/2021    1/20/2021    1/21/2021 1/22/2021 1/25/2021 1/26/2021 1/27/2021
                          GME AMC       BBBY BB EXPR KOSS NOK TR TRVG


              On January 27, 2021, alone, U.S. equity markets experienced a

record-breaking volume of activity, with 24.5 billion shares traded. (Id. ¶ 137.)

That same day, the SEC released a statement warning of “on-going market

volatility in the options and equities markets.” (Id. ¶ 144.) The “skyrocket[ing]”

and “epic price surge[s]” in the Relevant Securities were unrelated to factors that

securities industry participants traditionally expect would affect stock prices (e.g.,

earnings reports or public announcements). (Id. ¶¶ 136, 137.)

              In the face of these unprecedented market events, Robinhood and

other broker-dealers took proactive measures to mitigate market risks. For

example, by January 27, 2021, Robinhood Securities increased customer margin

requirements for GME to 100%—in other words, a customer was required to have
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100% of the funds to pay for and hold the shares in full. (Id. ¶¶ 194, 234.) On this

same day, Charles Schwab and TD Ameritrade, two other broker-dealers, also

“adjusted margin requirements for certain securities and restricted certain exotic

strategies usually employed by the most advanced traders.” (Id. ¶ 365.)

             On and before January 27, Citadel Securities and Robinhood had

various discussions about Robinhood’s PFOF rates. (Id. ¶¶ 240-245.) None of the

communications identified by Plaintiffs discuss or concern trading limitations.

Instead, as Plaintiffs themselves acknowledge, the “central topic” of the

conversations on January 27, 2021 was the “PFOF relationship.” (Id. ¶ 322.)

       D.    The Events of January 28, 2021 and Onward.

             The historic market volume and volatility in the Relevant Securities

came to a head on January 28, 2021. (AAC ¶¶ 198-208.)

             That morning, the NSCC issued Robinhood Securities a collateral call

for over $3 billion. (Id. ¶ 178.) This massive call was a tenfold increase as

compared to the preceding days. (Id. ¶ 262.) The deposit requirement was

$125 million on the morning of January 25, $291 million on the morning of

January 26 and $282 million on the morning of January 27.6 Because NSCC


   6
      Virtual Hearing – Game Stopped? Who Wins and Loses When Short Sellers,
Social Media, and Retail Investors Collide, 117th Cong. at 10 (2021) (statement of
Vladimir Tenev, Chief Executive Officer, Robinhood Markets, Inc.),
https://financialservices.house.gov/uploadedfiles/hhrg-117-ba00-wstate-tenevv-

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deposit requirements are based on market volatility and increase when the NSCC

perceives higher risk, the capital call was the direct result of the substantial

increases in trading volume and price of the Relevant Securities—in particular, on

January 27. (Id. ¶¶ 88, 90, 145-153, 175-178.)

             Robinhood Securities received the capital call of more than $3 billion

at 5:11 AM EST on January 28. (Id. ¶ 178.) After internal deliberation,

Robinhood Securities made the difficult decision to impose temporary purchase

restrictions on the limited number of securities driving the volatility. (Id. ¶ 180.)

Robinhood Securities put in place a “position closing only” (“PCO”) restriction on

stock trades and options contracts for 13 symbols—AMC, BB, BBBY, EXPR,

GME, KOSS, NOK, TR and TRVG (Plaintiffs’ “Relevant Securities”) (id. ¶ 179),

as well as four others7—a measure that allowed (but did not require) Robinhood

customers to exit their positions in those symbols if they wished, but restricted



20210218.pdf. The Court may take judicial notice of the approximate deposit
requirements described in Mr. Tenev’s testimony in the days leading up to January
28, 2021. See D.A.M. v. Barr, 474 F. Supp. 3d 45, 55 n.12 (D.D.C. 2020) (taking
judicial notice of congressional testimony because it “is not subject to reasonable
dispute” (quoting Fed. R. Evid. 201(b)(2))). Plaintiffs also cite Mr. Tenev’s
testimony to support their allegations regarding Robinhood’s decision to impose
limited purchase restrictions. (AAC ¶ 264.)
    7
      See Maggie Fitzgerald, Robinhood restricts trading in GameStop, other
names involved in frenzy, CNBC (Jan. 28, 2021, 9:19 AM EST), available at
https://www.cnbc.com/2021/01/28/robinhood-interactive-brokers-restrict-trading-
in-gamestop-s.html.

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additional purchases. (Id. ¶¶ 186-189.)

             Following the imposition of the PCO restrictions, the NSCC

eventually revised its earlier collateral call from approximately $3 billion to

$733 million. (Id. ¶ 183.) Robinhood Securities then provided the cash to satisfy

its revised deposit requirements a little after 9:00 AM EST, enabling Robinhood’s

customers to continue trading in all other securities. (Id. ¶ 264.) One of the

Named Plaintiffs, Burke Minahan, elected to apply for and fund another brokerage

account with Fidelity on the same day, as Fidelity did not adopt a similar

restriction. (Id. ¶ 30.) Mr. Minahan purchased a share of GME on the very same

day. (Id.) Robinhood Securities lifted the PCO restrictions by January 29, 2021

(id. ¶ 249), and removed all purchase limitations by market open on February 5,

2021 (id. ¶ 264).

             Other brokers imposed a variety of similar restrictions the morning of

January 28 in response to the unprecedented trading volume and volatility.

(Id. ¶¶ 195, 366; SA460.) For example, Ally, Dough, Alpaca, Public.com, SoFi,

Stash, Tastyworks and Webull imposed their own temporary purchasing

restrictions for a number of hours. (AAC ¶¶ 195, 366.) Similarly, E*Trade and

Interactive Brokers imposed restrictions, and clearing brokers Apex and ETC

allegedly required other brokers to impose restrictions. (See SA460.) Although

Plaintiffs previously alleged that those other brokers imposed their restrictions as

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part of a conspiracy with Robinhood and Citadel Securities, Plaintiffs abandoned

that allegation below, conceding that independent commercial reasons supported

the decision by other retail brokers to impose the same types of restrictions

challenged in this case as the product of an unlawful conspiracy. (AAC ¶¶ 195,

365-366; SA460-61.)

             As market volatility continued, on January 30, 2021, the SEC released

an investor alert and bulletin warning about the risks of short-term trading based on

social media, and acknowledged that “broker-dealers may reserve the ability to

reject or limit customer transactions” for “legal, compliance, or risk management

reasons,” and that the ability to do so “is typically discussed in the customer

account agreement.” SEC, Thinking About Investing in the Latest Hot Stock? (Jan.

30, 2021) (“SEC Statement”), https://www.sec.gov/oiea/investor-alerts-and-

bulletins/risks-short-term-trading-based-social-media-investor-alert.8 As the

District Court found in dismissing the Robinhood Tranche of this MDL,

Robinhood’s customer agreement expressly authorized Robinhood Securities to

take the actions it did. (See SA527, appeal filed, No. 22-10669 (11th Cir.).) In

light of the ongoing volatility and to ensure that it could meet any further



    8
     The Court may take judicial notice of the SEC Statement because it is a
public record, the accuracy of which cannot reasonably be questioned. See
Universal Express, Inc. v. SEC, 177 F. App’x 52, 53 (11th Cir. 2006).

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extraordinary NSCC collateral calls, Robinhood Securities maintained certain

stock purchasing limits (but not PCOs) on a variety of stocks between January 29

and February 5, 2021. (AAC ¶¶ 252-255, 261-264.)

             The SEC Staff subsequently conducted an investigation into the short

squeeze events of January 2021. See SEC Staff Report on Equity and Options

Market Structure Conditions in Early 2021 (Oct. 14, 2021) (“SEC Staff Report”),

available at https://www.sec.gov/files/staff-report-equity-options-market-struction-

conditions-early-2021.pdf.9 Following an extensive investigation, the SEC Staff

Report provided no support for the alleged conspiracy. SEC Staff Report, at 31-

35.

             The SEC also proposed a new rule in 2022 to further mitigate the risks

associated with settlement by reducing the time from execution and settlement to

one day. See Shortening the Securities Transaction Settlement Cycle, 87 Fed. Reg.

10,436 (Feb. 24, 2022) (the “Proposed Rule”). The SEC emphasized that

shortening the settlement period would have the benefit of reducing clearing

agency deposit requirements. Id. at 10,448. In the release for the Proposed Rule,

the SEC noted that the importance of settlement reform had been underscored by



      9
     The Court may take judicial notice of the SEC Staff Report because it is a
public record, the accuracy of which cannot reasonably be questioned. See
Universal Express, 177 F. App’x at 53.

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the “heightened interest in certain ‘meme’ stocks” in January 2021, when the SEC

observed “extreme” volatility under the current settlement rules led broker-dealers

to adopt risk management measures, including preventing customers from trading.

Id. at 10,437, 10,444, 10,482 & n.337.

II.        COURSE OF PROCEEDINGS BELOW.

                Numerous lawsuits against Robinhood and other retail brokers and

securities market participants were filed around the country and consolidated for

pretrial purposes in a multidistrict litigation captioned In re January 2021 Short

Squeeze Trading Litigation (“MDL”).10 The District Court organized the claims

into four “tranches,” appointed interim lead plaintiffs and counsel for each tranche,

and ordered lead plaintiffs to file superseding complaints. (SA001-09.) The

District Court also ordered Robinhood and other MDL defendants to produce tens

of thousands of pages of documents previously produced to regulators (SA009),

and gave the MDL plaintiffs an opportunity to review those documents prior to

filing consolidated complaints (id.).

                This appeal concerns the Antitrust Tranche of the MDL. On July 27,

2021, Plaintiffs filed the original Consolidated Class Action Complaint, in which

Plaintiffs asserted conspiracy claims against 13 brokers (Ally, Alpaca, Dough,



      10
      See, e.g., No. 1:21-cv-21451 (E.D.N.Y. filed Feb. 8, 2021) (Angel Guzman);
No. 1:21-cv-21318 (N.D. Cal. filed Feb. 1, 2021) (Terell Sterling).

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Public.com, SoFi, Tastyworks, Webull, Robinhood, E*Trade, Interactive Brokers,

Apex and ETC), and one market maker, Citadel Securities. (SA010.)11 Plaintiffs

alleged that all of these brokers conspired with one another and with Citadel

Securities. (SA015-16.) On August 24 and 27, 2021, Plaintiffs voluntarily

dismissed their claims against eight of the broker defendants (SA146, SA284-90),

leaving five brokers. On November 17, 2021, the District Court granted

Defendants’ motion to dismiss without prejudice, holding that Plaintiffs had failed

to plead facts “that support a plausible inference of conspiracy.” (SA476-77.)

                On January 20, 2022, Plaintiffs filed the Amended Consolidated Class

Action Complaint (Dkt.451). This time, Plaintiffs’ alleged conspiracy shrank

further, as Plaintiffs dropped four of the five remaining broker defendants and

allege a conspiracy with just two participants: Robinhood and Citadel Securities.

(Id. ¶¶ 1-2.)

                On May 13, 2022, the District Court granted Defendants’ motion to

dismiss Plaintiffs’ third attempt to plead an antitrust conspiracy with prejudice.

The court asked rhetorically, “What has changed with the latest pleading?” and

responded, “Not much.” (Op. 1.) The court concluded that “Plaintiffs fail to



    11
     Plaintiffs filed a Corrected Consolidated Class Action Complaint (SA147) on
August 23, 2021, and a partially unredacted version on September 22, 2021
(SA291).

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plausibly allege the existence of an agreement to restrict trade between the

Defendants” (id. 51), and added as a second ground for dismissal that Plaintiffs

“fail to plausibly allege an unreasonable restraint of trade” because “Plaintiffs

ignore the reality of their suit: they allege that Defendants caused harm to the

market for Relevant Securities, but they neglect to define that market” (id. 52).

             Defendants raised a third argument on their motion to dismiss—that

Plaintiffs’ antitrust claim is precluded by the federal securities laws. That is

because the Supreme Court has held that securities law implicitly precludes an

antitrust claim where the conduct at issue “lie[s] squarely within an area of

financial market activity that the securities law seeks to regulate.” Credit Suisse

Sec. (USA) LLC v. Billing, 551 U.S. 264, 264 (2007). Because the District Court

was already dismissing the complaint with prejudice on two other grounds, it

declined to reach this third ground for dismissal. (Op. 23.)12

             Plaintiffs appealed.

                       SUMMARY OF THE ARGUMENT

             The District Court’s Opinion should be affirmed. The District Court

correctly held that Plaintiffs do not plausibly plead an agreement between




    12
     Plaintiffs take the position that this Court should not reach preclusion on this
appeal, and state that “the argument is one for the district court to consider on
remand.” (Br. 5 n.6.)

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Robinhood and Citadel Securities, and also failed to plead harm to competition in a

relevant market.

             First, the District Court properly concluded that Plaintiffs failed to

plead plausibly any inference of an agreement. As the District Court observed,

Plaintiffs identify a number of out-of-context business communications between

Robinhood and Citadel Securities and make the unsubstantiated inference that

Robinhood was incentivized to maintain an important business partner in advance

of Robinhood’s IPO. From these allegations, Plaintiffs ask the Court to make the

unsupported leap to infer the existence of a conspiracy based on Plaintiffs’

proposed narrative of events. But Plaintiffs have no direct evidence of an

agreement between the Defendants for Robinhood to restrict trading and no

circumstantial evidence that would make such an agreement plausible, as they

themselves have provided the obvious plausible alternative explanation and

identified numerous market participants that took similar actions for lawful

commercial reasons. On appeal, Plaintiffs contend that the District Court

committed legal error by considering that “obvious alternative explanation” for

Robinhood’s stock purchase restrictions—the outsized NSCC deposit requirement

the morning of January 28, 2021. Plaintiffs are incorrect. The District Court

applied the correct legal standard, as set forth in the Supreme Court’s Twombly

decision and recent decisions from this Court.

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             Second, the District Court correctly determined that Plaintiffs failed to

plead harm to competition in a relevant market. On appeal, Plaintiffs argue that

they sufficiently pleaded antitrust injury to pursue their Section 1 claim. That

argument completely misses the basis of the District Court’s order. The decision

below did not turn on “antitrust injury,” which is a standing requirement. Instead,

it turned on the separate—and central—requirement of a Section 1 claim: pleading

harm to competition in a relevant market. In the Amended Complaint, Plaintiffs

allege two markets: the upstream “PFOF Market” in which Citadel Securities

allegedly competes, and the downstream “No-Fee Brokerage Trading App Market”

in which Robinhood allegedly competes. The harm that Plaintiffs allege, however,

is to the trading prices of the Relevant Securities. That is not a competitive harm,

nor is it a harm taking place in either of the markets Plaintiffs allege. As the

District Court explained, “Plaintiffs ignore the reality of their suit: they allege that

Defendants caused harm to the market for Relevant Securities, but they neglect to

define that market.” (Op. 51-52.)

                                    ARGUMENT

I.    THE DISTRICT COURT PROPERLY HELD THAT PLAINTIFFS DO NOT
      PLAUSIBLY ALLEGE AN AGREEMENT BETWEEN ROBINHOOD AND CITADEL
      SECURITIES TO RESTRICT TRADING.

             Plaintiffs advance two arguments to support their position that they

properly pleaded a plausible conspiratorial agreement. Both are meritless.


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             First, Plaintiffs argue that the District Court applied the wrong legal

standard. (Br. 18-22.) To the contrary, the District Court correctly applied the

plausibility standard set out in case law from the Supreme Court and this Court.

(See infra Part I.A.) Second, Plaintiffs argue that the District Court did not apply

the plausibility standard properly to the allegations in the Amended Complaint.

This is also incorrect. The District Court properly determined that Plaintiffs did

not plausibly allege an agreement, especially given that Plaintiffs themselves plead

facts that provide an “obvious alternative explanation.” (See infra Part I.B.)

      A.     The District Court Applied the Correct Legal Standard for Pleading an
             Antitrust Claim.

             Plaintiffs first contend that the District Court “confused the Twombly

plausibility standard and improperly weighed competing inferences that could be

drawn from the facts alleged in the complaint” (Br. 25), and erred by considering

“alternative explanations” for Plaintiffs’ allegations (id. 28). Not so.

             To plead a claim under Section 1 of the Sherman Act, a complaint

must contain “‘allegations plausibly suggesting (not merely consistent with) [a

conspiracy or] agreement,’ that is, whether the complaint ‘possess[es] enough heft

to show that the pleader is entitled to relief.’” Jacobs v. Tempur-Pedic Int’l, Inc.,

626 F.3d 1327, 1332-33 (11th Cir. 2010) (quoting Bell Atl. Corp. v. Twombly,

550 U.S. 544, 557 (2007)). Contrary to Plaintiffs’ contention (Br. 22), this Court

has held repeatedly that courts “may infer from the factual allegations in the

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complaint ‘obvious alternative explanation[s],’ which suggest lawful conduct

rather than the unlawful conduct the plaintiff would ask the court to infer.” Am.

Dental Ass’n v. Cigna Corp., 605 F.3d 1283, 1290 (11th Cir. 2010) (quoting

Ashcroft v. Iqbal, 556 U.S. 662, 682 (2009)); see also Auto. Alignment & Body

Serv., Inc. v. State Farm Mut. Auto Ins. Co., 953 F.3d 707, 728-29 (11th Cir. 2020)

(plaintiffs “offer no allegations that explain[ed] why the loss in business they

allege[ed] [was] plausibly explained by steering instead of other ‘obvious

alternative explanation[s]’” (citation omitted)).

             This Court has also explained that a Section 1 plaintiff fails to state a

claim where “independent action is at least as plausible as concerted action

pursuant to prior agreement,” Quality Auto Painting Ctr. of Roselle, Inc. v. State

Farm Indem. Co., 917 F.3d 1249, 1267 (11th Cir. 2019) (en banc), and has

affirmed the granting of a motion to dismiss where plaintiffs “offer no allegations

that explain why the [result] they allege is plausibly explained by [illegal

agreement] instead of other ‘obvious alternative explanation[s],’” Auto. Alignment,

953 F.3d at 728-29 (quoting Twombly, 550 U.S. at 567).

             The District Court correctly applied this precedent, considering

whether Plaintiffs’ allegations established that it was plausible to infer the

existence of an unlawful conspiracy or, instead, whether those allegations simply

established a “mere possibility the defendant acted unlawfully.” (Op. 22 (quoting

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Sinaltrainal v. Coca-Cola Co., 578 F.3d 1252, 1261 (11th Cir. 2009) (citation

omitted)).) After considering the facts alleged in the Amended Complaint and the

so-called “plus factors,” the District Court determined that Plaintiffs themselves

had provided a “compelling alternative explanation for the trading restrictions—the

increased collateral requirements imposed by the NSCC in response to historic

metric volatility.” (Op. 52.) As a result, the District Court concluded that

“Plaintiffs’ theory is speculative and implausible.” (Id.) This conclusion correctly

applied Supreme Court precedent directing courts to consider “obvious alternative

explanation[s].” Twombly, 550 U.S. at 567; see also Auto. Alignment, 953 F.3d

at 728-29 (considering “obvious alternative explanations”); Am. Dental, 605 F.3d

at 1290 (same).

             Plaintiffs’ cited authorities relating to summary judgment cast no

doubt on the District Court’s analysis because the District Court did not apply a

summary judgment standard.13 See Monsanto Co. v. Spray-Rite Serv. Corp.,

465 U.S. 752, 764 (1984) (requiring plaintiff to present “evidence that tends to



   13
       These cases simply state that a court should not apply a summary judgment
standard at the motion to dismiss stage. See Erie Cnty., Ohio v. Morton Salt, Inc.,
702 F.3d 860, 868 (6th Cir. 2012) (affirming grant of motion to dismiss but noting
that “[t]he district court did not clearly distinguish between the antitrust standards
applicable on summary judgment and those that apply to a motion to dismiss”); see
also SmileDirectClub, LLC v. Tippins, 31 F.4th 1110, 1118 (9th Cir. 2022) (same);
SD3, LLC v. Black & Decker (U.S.) Inc., 801 F.3d 412, 425 (4th Cir. 2015) (same).

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exclude the possibility” of lawful independent conduct). As noted, considering

plausible alternative explanations based on the facts alleged is precisely the inquiry

mandated by Twombly, 550 U.S. at 567.

             Neither Evergreen Partnering nor Anderson News suggests otherwise.

Rather, in each of those cases, the court of appeals held that the district court erred

when it “chose among plausible alternative theories interpreting defendants’

conduct and adopted as true allegations made by defendants in weighing the

plausibility of theories put forward by the parties.” Evergreen Partnering Grp.,

Inc. v. Pactiv Corp., 720 F.3d 33, 50 (1st Cir. 2013); see also Anderson News,

L.L.C. v. Am. Media, Inc., 680 F.3d 162, 184 (2d Cir. 2012) (“The choice between

or among plausible scenarios is one for the factfinder . . . .”). The court here did

not choose among plausible alternative theories or adopt as true any facts alleged

by Defendants. To the contrary, the District Court held, based on the plaintiffs

own allegations, that their theory is “speculative and implausible.” (Op. 52.)

      B.     Plaintiffs Do Not Plausibly Allege an Agreement Between Robinhood
             and Citadel Securities to Restrict Trading.

             The District Court also properly applied the requisite pleading

standard to Plaintiffs’ factual allegations.

             To state a Sherman Act Section 1 claim, Plaintiffs must present either

“direct or circumstantial evidence that reasonably tends to prove that the

[defendant] and others had a conscious commitment to a common scheme designed

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to achieve an unlawful objective.” Monsanto, 465 U.S. at 764. Plaintiffs have

done neither.

             1.     Plaintiffs Do Not Allege Direct Evidence of an Agreement to
                    Restrict Trading.

             The District Court correctly concluded that Plaintiffs “failed to allege

direct evidence of an agreement” to restrict trading of the Relevant Securities on

the Robinhood platform. (Op. 26-27.) On appeal, Plaintiffs assert in passing that

they “provided direct evidence of an agreement.” (Br. 23.) Plaintiffs apparently

refer to a January 25, 2021 email, in which Josh Drobnyk of Robinhood told

Citadel Securities, “We are on board.” (AAC ¶¶ 227-230.) This is not direct

evidence because the email says nothing about restricting trading, and in any event

Plaintiffs have waived any such argument.

             First, the January 25 email is not direct evidence of an agreement to

restrict trading for the simple reason that it says nothing about restricting trading.

(See id.) As the District Court observed, the proposition to which Mr. Drobnyk

agreed is “unknown.” (Op. 16.) Plaintiffs conceded this point below. (See

Dkt.459, at 9-10 (“[T]he substance of the communications is undisclosed.”).) This

is particularly significant in a case like this, where Robinhood and Citadel

Securities “must frequently communicate given their business relationship.”

(Op. 34.) Direct evidence takes the form of, for example, “a recorded phone call in

which two competitors agreed to fix prices at a certain level,” Mayor & City

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Council of Baltimore, Md. v. Citigroup, Inc., 709 F.3d 129, 136 (2d Cir. 2013), or

“an admission by an employee of one of the conspirators, that officials of the

defendants had met and agreed explicitly on the terms of a conspiracy to raise

price,” In re Text Messaging Antitrust Litig., 782 F.3d 867, 871 (7th Cir. 2015).

Plaintiffs plead nothing of the sort.

             Second, Plaintiffs did not argue below that they had direct evidence of

an agreement, and have thus failed to preserve the argument for appeal. In their

motion to dismiss, Defendants set out in Part I.A of their brief the argument that

“Plaintiffs Fail To Allege Any Direct Evidence of an Agreement.” (Dkt.456,

at 14.) As the District Court rightly noted, “Plaintiffs [did] not argue otherwise

and instead focus on whether there is circumstantial evidence of an agreement.”

(Op. 27.) Plaintiffs’ brief in opposition to the motion to dismiss confirms that

Plaintiffs did not argue they had direct evidence and provided no response to Part

I.A of Defendants’ brief. (See Dkt.459, at 7-20.) Accordingly, Plaintiffs failed to

present this argument to the District Court and have waived it for appeal.

See Irving v. Mazda Motor Corp., 136 F.3d 764, 769 (11th Cir. 1998).

             2.     Plaintiffs Do Not Plausibly Allege Circumstantial Evidence of
                    an Agreement to Restrict Trading.

             Plaintiffs also fail to plead circumstantial evidence of a conspiracy

that demonstrates “a conscious commitment to a common scheme designed to

achieve an unlawful objective.” Monsanto, 465 U.S. at 764; (Op. 26). These

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allegations must plausibly suggest an agreement was made. See Jacobs, 626 F.3d

at 1332.

             Plaintiffs argue that this Court may infer the existence of an

agreement to restrict trading of the Relevant Securities on the Robinhood platform

from purported (i) inter-firm communications, (ii) common motive, (iii) acts of

concealment, (iv) market structure, (v) market behavior and (vi) pretextual

explanations.14 Plaintiffs rely most heavily on the first two “plus factors”—a series

of out-of-context communications between Robinhood and Citadel Securities, as

well as a purported common motive to advance a conspiracy. However, even after

having access to thousands of relevant documents from the Defendants, Plaintiffs’

cherry-picked evidence and disparate circumstantial evidence falls far short of

pleading a plausible inference of conspiracy under any or all of these factors.

(Op. 43.) As the District Court ruled, the first two factors constitute at best only “a

weak inference of a conspiracy” and are insufficient to “advance Plaintiffs’ theory

from possible to plausible” (Op. 37; see also id. 31), and the other four factors do

not provide any reason whatsoever to infer a conspiracy (id. 38, 41, 42-43).

             Inter-Firm Communications. Plaintiffs’ conspiracy theory rests


    14
      As the District Court observed, Plaintiffs abandoned other “plus factors” that
the District Court had rejected on Defendants’ previous motion to dismiss, such as
actions against unilateral self-interest, the opportunity to coordinate and collude,
and government investigations. (Op. 28 n.17.)

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primarily on a series of communications cherry-picked from thousands of

documents produced by Robinhood, Citadel Securities and other defendants in the

District Court proceedings below. But as the District Court properly concluded,

despite access to this discovery, Plaintiffs identify only “several vague and

ambiguous emails between high-level executives” of the two companies and fail to

plausibly infer “an actual antitrust conspiracy.” (Op. 32, 36.) These

communications, the District Court determined, fail to “advance Plaintiffs’ theory

from possible to plausible.” (Id. 37.)

             This is for good reason. Both below and on appeal, Plaintiffs rely on

a series of communications in late January 2021 to claim that Citadel Securities

and Robinhood agreed to restrict Robinhood customers from purchasing the

Relevant Securities. (Br. 7-8, 28-29.) But the alleged communications—on their

face—reflect dealings in the normal course of business between Citadel Securities

and Robinhood related to the ongoing “‘payment for order flow’ relationship”

between Robinhood and Citadel Securities and had nothing to do with the trading

restrictions Robinhood later imposed. (AAC ¶¶ 283, 312-313.) Plaintiffs plead no

communications establishing that Citadel Securities even had advance notice of the

Robinhood restrictions on trading of any of the Relevant Securities, let alone

communications establishing that Citadel Securities was part of any agreement for

Robinhood to impose those restrictions. See Todorov v. DCH Healthcare Auth.,

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921 F.2d 1438, 1456 (11th Cir. 1991) (“[T]he mere opportunity to conspire among

antitrust defendants does not, standing alone, permit the inference of

conspiracy.”).15

             The District Court thus correctly noted the obvious alternative

explanation for any purported uptick in communications: that “the retail-driven

short squeeze, driven in part by Robinhood users, had set the financial world

ablaze” and that “[g]iven the PFOF relationship between Robinhood and Citadel

Securities, it would be understandable for employees—even executive-level

employees—at a broker and a market maker to communicate about what impact

the squeeze might have on each party’s ability to fulfill its obligations.”

(Op. 36-37 (citations omitted).) This obvious alternative—drawn from the

contents of the very communications alleged by Plaintiffs—undercuts any notion

of conspiracy. Twombly, 550 U.S. at 567.



    15
      Plaintiffs’ citation to Mr. Swartwout’s January 28, 2021 email at 1:41:29
AM UTC (i.e., January 27, 2021 email at 8:41 PM EST) actually undermines any
inference that the parties’ conversations concerned a trading halt for the Restricted
Securities. In the email—discussing “dictated [order flow] schedule and caps”—
Mr. Swartwout states that, “whatever it is we are not going to be able to address
it tomorrow given the notice.” (AAC ¶ 245 (emphasis added).) Given that
Robinhood PCO’ed the Restricted Securities on the morning of January 28, 2021,
this email belies Plaintiffs’ conspiratorial conjecture that this email shows
“Robinhood was upset that its PFOF would be limited when Citadel Securities
demanded that Robinhood restrict trading to allow Citadel Securities to cover its
short positions.” (Id. ¶ 246.)

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             Notably, the District Court dismissed claims based on these

communications multiple times. After the first dismissal for failure to allege an

agreement, Plaintiffs had the opportunity to add more specific evidence of

communications that could support an agreement from the thousands of documents

that were produced to them. They failed to do so, because no such evidence exists.

Instead, they simply tried to add new gloss to the same insufficient

communications. (See, e.g., Op. 1 (“[The Court gave] Plaintiffs the opportunity to

amend. They did so. What has changed with the latest pleading? Not much.”).)

But “[c]onclusory allegations of agreement or conspiracy are insufficient.” Quality

Auto, 917 F.3d at 1262; Twombly, 550 U.S. at 557. Put differently, a “complaint

must state facts—not conclusions—that plausibly suggest a conspiracy.” United

Am. Corp. v. Bitmain, Inc., 530 F. Supp. 3d 1241, 1256 (S.D. Fla. 2021). This case

is thus a far cry from those on which Plaintiffs rely, each of which involved robust

factual allegations of inter-firm communications indicative of conspiracy not

present here.16



    16
      See, e.g., DeLong Equip Co. v. Wash. Mills Abrasive Co., 887 F.2d 1499,
1511 (11th Cir. 1989) (finding sufficient evidence of agreement on summary
judgment in part because defendant made payment to price-fixing co-conspirator
alleged to be share of inflated profits); Associated News, Inc. v. Curtis Circulation
Co., Civ. A. No. H-80-1201, 1986 WL 13791, at *6 (S.D. Tex. Dec. 4, 1986)
(finding, on summary judgment, sufficient evidence of conspiracy in part because
two witnesses claimed defendant agreed to deal exclusively with co-defendant).

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             On appeal, Plaintiffs apparently hope that this Court will accept the

invitation that the District Court declined: to “take allegations of communications,

followed by allegations of a restriction, and simply fill in the blanks for Plaintiffs,

particularly where it ‘is just as plausible, if not more so,’ that the communications

did not form the basis of an antitrust conspiracy.” (Op. 36 (quoting Stanislaus

Food Prods. Co. v. USS-POSCO Indus., 803 F.3d 1084, 1093 (9th Cir. 2015)).)

The District Court appropriately rejected this approach under Twombly and this

Court’s precedent, and Robinhood respectfully submits that this Court should

affirm.

             Motive to Conspire. A common motive to conspire can support an

inference of conspiracy where “such motivation tends to exclude the possibility of

independent action.” Apex Oil Co. v. DiMauro, 822 F.2d 246, 259 (2d Cir. 1987);

see also In re Musical Instruments & Equip. Antitrust Litig., 798 F.3d 1186, 1194

(9th Cir. 2015) (“But common motive does not suggest an agreement. Any firm

that believes that it could increase profits by raising prices has a motive to reach an

advance agreement with its competitors.”). Here, as the District Court concluded,

Plaintiffs “did not provide sufficient motive to conspire considering Plaintiffs did

not allege that Citadel Securities threatened or suggested it would end the

relationship or explain why Robinhood would not simply use a different market

maker if it did.” (Op. 30.)

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             Plaintiffs contend that Robinhood shared a common motive with

Citadel Securities to restrict customer purchases in the Relevant Securities because

“there would have been no way Robinhood could have brought the IPO to fruition

if Citadel withdrew its valuable PFOF revenue.” (Br. 30.) This is as speculative as

it is baseless. First, Plaintiffs provide no factual allegations to support the notion

that Robinhood’s PCO restrictions were driven by its future IPO. Instead, as the

District Court observed, “Plaintiffs’ proffered motive theory thus rests on a series

of inferences.” (Op. 31.) And, as the District Court observed, Plaintiffs’

underlying economic motives argument lacks any factual support whatsoever.

(Id. 30.) There are no allegations that Citadel Securities threatened Robinhood that

it would halt the parties’ lucrative, ongoing PFOF business relationship absent

Robinhood’s acquiescence to an alleged demand to halt trading on a subset of

securities. (Id.) There are also no allegations even suggesting that Robinhood was

unable to re-route its order flow to any of the multiple other market makers with

which Robinhood has a PFOF relationship in the event Citadel did withdraw. (Id.)

The District Court was thus correct when it ruled that “Plaintiffs do not plausibly

allege that Robinhood had such a motivation [to restrict trading at Citadel

Securities’ behest] here, and even if they had done so, economic incentive is not in

itself enough for the Court to infer that Defendants actually had an unlawful

agreement to restrain trade.” (Id. 51-52.)

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               The District Court properly concluded that none of the remaining

factors upon which Plaintiffs rely provide any support for the alleged conspiracy.

(Id. 37-43.)

               Pattern of Concealment. The District Court properly rejected any

argument that Defendants engaged in some kind of “pattern of concealment.”

(Op. 38.) Plaintiffs essentially attempt to argue that the Court should infer a

conspiracy because Defendants communicated frequently by telephone and drafted

vague emails. (Br. 32.) But as the District Court ruled, it simply makes no sense

to “infer a conspiracy simply because two business partners chose to use phones to

communicate.” (Op. 38.) Additionally, the concealment cases Plaintiffs rely on do

not support their argument. For example, In re Urethane Antitrust Litigation held

that the destruction of documents may be evidence of conspiracy. No. 04-1616-

JWL, 2013 WL 2097346, at *11 (D. Kan. May 15, 2013). No such circumstances

have been alleged here. And as Plaintiffs’ own parenthetical makes clear, In re

Publication Paper Antitrust Litigation involved phone calls where “no social or

personal purpose has been persuasively identified” (Br. 32). 690 F.3d 51, 65 (2d

Cir. 2012).17 Here, by contrast, the Defendants’ PFOF business relationship



    17
      Furthermore, the conduct in the criminal conspiracy cases Plaintiffs cite was
far more extreme. See United States v. Curtis, 635 F.3d 704, 717 (5th Cir. 2011)
(text message telling co-conspirator “not [to] go to the authorities”); United States

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provided a persuasive purpose for the communications.

             Market Structure. Market structure can provide circumstantial

evidence of a conspiracy when the features of the market facilitate anti-competitive

coordination, such as in price-fixing cases. See, e.g., In re High Fructose Corn

Syrup Antitrust Litig., 295 F.3d 651, 655 (7th Cir. 2002); (Op. 41-42). But under

antitrust law, this consideration applies to “price-fixing conspiracies where the

defendants utilized their market power to raise the prices of goods they sold.”

(Op. 41 (internal quotations and alterations omitted).)

             This is not a price-fixing case, and Plaintiffs fail to explain how the

market structure inquiry from those cases could possibly support the inference of a

conspiracy here. Plaintiffs urge that Defendants’ PFOF relationship creates a

“substantial conflict of interest” (Br. 37)—but they cannot connect that allegation

with any notion that the supposed “No-Fee Brokerage Market” is ripe for

anticompetitive dealing. Market structure factors that can give rise to the inference

of a conspiracy in a price-fixing case include the presence of few sellers, a uniform

product (due to standardization) and a lack of product substitutes. See High

Fructose Corn Syrup, 295 F.3d at 655-57. Here, by contrast, there are numerous

brokers from which customers can choose, and the retail brokerage market (if such



v. Gacnik, 50 F.3d 848, 852 (10th Cir. 1995) (falsely denying knowledge of
explosives hidden in basement).

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a market exists) is not one with a uniform, undifferentiated product.

             Plaintiffs also argue that “customers in the No-Fee Brokerage Market

are ‘locked in’ to their respective brokerages in the short term.” (Br. 38.)

However, they cite no case for the proposition that high barriers to entry are

sufficient to constitute circumstantial evidence of an agreement. And while they

assert that “a typical Robinhood customer could not simply withdraw or transfer

her funds and open a new account elsewhere because of the time and resources

required to do so” (id.), at least one named plaintiff—Burke Minahan—opened an

account with Fidelity on January 28, 2021 (the day when Robinhood first imposed

the PCO restrictions). (AAC ¶ 30.)

             The cases cited by Plaintiffs in support of this factor are irrelevant to

the analysis here. In Stanislaus Food Products Co. v. USS-POSCO Industries, the

court did not even consider market structure in its analysis. 2013 WL 595122, at

*11 (E.D. Cal. Feb. 15, 2013), aff’d, 803 F.3d 1084 (9th Cir. 2015). And In re Flat

Glass Antitrust Litigation involved price-fixing among competitors, where the

court specifically explained that market structure could be considered where there

is “evidence that the structure of the market was such as to make secret price fixing

feasible.” 385 F.3d 350, 360 (3d Cir. 2004) (citation omitted). The Court should

affirm the District Court’s conclusion that this “plus factor” provides no support

for the alleged conspiracy.

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             Market Behavior. “[I]n analyzing this factor a court looks

to evidence that the market behaved in a noncompetitive manner.” Flat Glass

Antitrust Litig., 385 F.3d at 361 (citation omitted). As the District Court explained,

the allegation that “retail customers were unable to purchase the Relevant

Securities despite their desire to do so” “clearly falls short.” (Op. 42.)

             This “plus factor” strongly refutes the alleged conspiracy. As noted

above, Plaintiffs originally alleged that more than a dozen retail brokers were part

of a vast conspiracy to impose similar types of trading restrictions that are

challenged here. (SA152-53.) Now, however, Plaintiffs have abandoned those

allegations. The fact that many other brokers faced with the very same

unprecedented market conditions implemented similar restrictions is market

behavior that refutes, rather than supports, conspiracy. See Twombly, 550 U.S. at

556 n.4 (rejecting allegations of conspiracy given plausible explanation that

conduct reflected “independent responses to common stimuli . . . unaided by an

advance understanding among the parties” (internal citation omitted)).

             Plaintiffs’ assertion that the trading restrictions disrupted the

“operation of supply and demand” for the relevant securities and drove down stock

prices is of no moment. (Br. 38.) The same can be said for the other trading

restrictions implemented at the same time in the same market conditions by entities

that are not alleged to be part of the conspiracy.

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             Pretextual Explanations. Where statements made by a defendant are

“cover for the real reason—to advance a [] conspiracy,” this “plus factor” can

weigh in favor of an antitrust violation. In re Chocolate Confectionary Antitrust

Litig., 801 F.3d 383, 411 (3d Cir. 2015). Here, the District Court properly

concluded that the communications cited by Plaintiffs do not support a reasonable

inference of a conspiracy. Specifically, the District Court found that “the

Amended Complaint provides several indications that Robinhood was legitimately

concerned about meeting its collateral requirements.” (Op. 40.) These included

the fact that “the trading restrictions ‘reduce[d] the volatility multiplier on the

collateral that Robinhood Securities was required to post with the NSCC.’” (Id. 41

(citation omitted).)

             On appeal, in addition to reiterating the arguments rejected by the

District Court, Plaintiffs contend that the District Court’s reference to the reduction

in Robinhood’s volatility multiplier is beyond the scope of the Amended

Complaint. (Br. 34-35.) Not so. Plaintiffs allege in the Amended Complaint that

the NSCC increased Robinhood’s deposit requirements to over $3 billion on the

morning of January 28 and that Robinhood put the purchase restrictions in place

shortly thereafter. (AAC ¶¶ 178-179.) Indeed, Plaintiffs expressly allege that

(1) shortly after receiving the margin call, Gretchen Howard messaged internally

that Robinhood had a “liquidity issue” and was moving the Relevant Securities to

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PCO (AAC ¶ 180), and (2) subsequently the “NSCC reduced Robinhood’s deposit

requirement by nearly half” (AAC ¶ 183). This reduction occurred because the

deposit requirement incorporates calculations “largely based on risk and market

volatility.” (Op. 7 (citing AAC ¶ 90).) Robinhood continued the restrictions after

meeting its deposit requirements that morning because, as the Court found

plausible, doing so “reduce[d] the volatility multiplier on the collateral that

Robinhood Securities was required to post with the NSCC.” (Op. 41.) And as the

District Court explained, “[i]t is not suspicious for Robinhood to strive to avoid

higher collateral requirements.” (Id.)

             Plaintiffs are also wrong to assert that the District Court did not

adequately consider the allegation that on January 26, 2021, Robinhood executive

James Swartwout posted on an internal chat that he had sold his AMC stock and

that Robinhood was moving GME to 100% margin the following day. (AAC

¶ 234.) To the contrary, the District Court directly addressed this communication.

(Op. 39.) As explained above, margin requirements relate to funds customers must

have on hand to purchase or hold certain securities. Plaintiffs do not allege that

Robinhood’s decision to adjust margin requirements—a decision separate from the

PCO restrictions imposed two days later—was related in any way to Citadel

Securities or a purported conspiracy. The cited communication is irrelevant.

             Finally, Plaintiffs attempt to rely on the decision on the motion to

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dismiss in the MDL’s Securities Tranche of the MDL (Dkt.503), where the District

Court found the allegations in a different complaint concerning Robinhood’s

internal communications about liquidity sufficient to plead a securities claim.

(Br. 35 n.13.) The District Court explained, however, that it analyzed Robinhood’s

statements in two different legal contexts—here, whether the statements create the

inference of an antitrust conspiracy with Citadel Securities; in the other tranche, for

Robinhood’s scienter on a securities claim. (Dkt.503, at 49.) Indeed, the District

Court’s decision in the Securities Tranche is fully consistent with the Opinion here.

Regardless of whether Robinhood executives believed it had a liquidity problem on

January 28, 2021, any liquidity issue provides no support for Plaintiffs’ theory

here, in the Antitrust Tranche, that Robinhood was acting at Citadel Securities’

request to protect a supposed Citadel short position in the Relevant Securities.

                                        ***

             The District Court correctly concluded that Plaintiffs’ allegations of

circumstantial evidence do not “advance Plaintiffs’ theory” that Robinhood and

Citadel Securities conspired for Robinhood to impose trading restrictions “from

possible to plausible” (Op. 37; see also id. 44), as required by precedent from the

Supreme Court and this Court. See Twombly, 550 U.S. at 570; Sinaltrainal, 578

F.3d at 1261. The District Court properly found that the handful of

communications between the two defendants in the relevant time period were

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consistent with discussions about their pre-existing business relationship around

PFOF payments. (Op. 31-37.) The District Court appropriately considered the

“obvious alternative explanation” for why Robinhood put the trading restrictions in

place, namely the NSCC collateral call. (Id. 36, 44); see Iqbal, 556 U.S. at 682;

Auto. Alignment, 953 F.3d at 728-29; Am. Dental Ass’n, 605 F.3d at 1290. And the

District Court was right to take into account the fact that other brokers (who

Plaintiffs no longer allege were part of the conspiracy) imposed similar trading

restrictions, which further makes implausible Plaintiffs’ theory that Robinhood

acted at Citadel Securities’ behest. (Op. 40.) The decision below should be

affirmed.

II.   THE DISTRICT COURT PROPERLY DISMISSED PLAINTIFFS’ CLAIM FOR
      FAILING TO PLEAD HARM TO COMPETITION IN A RELEVANT MARKET.

             Plaintiffs also fail to plead harm to competition in a relevant market.

The District Court correctly held that Plaintiffs’ claim, involving an alleged

vertical agreement, is governed by the rule of reason. (Op. 45-47.) Plaintiffs do

not challenge that holding. (Br. 40 n.15.)

             In a Section 1 case under the rule of reason, the plaintiff must plead

“the anticompetitive effect of the defendant’s conduct on the relevant market.”

Spanish Broad. Sys. of Fla., Inc. v. Clear Channel Commc’ns, Inc., 376 F.3d 1065,

1071 (11th Cir. 2004). Plaintiffs allege two relevant markets: one in which

Citadel Securities allegedly operates (the “PFOF Market”), and one in which

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Robinhood allegedly operates (the “No-Fee Brokerage Trading App Market”).

Critically, however, Plaintiffs’ only theory of harm is that Defendants agreed “to

restrict purchases of the Relevant Securities and thereby drive down their share

price” (Br. 16)—an alleged harm to competition outside either of Plaintiffs’

proposed markets. Accordingly, the District Court properly dismissed Plaintiffs’

Section 1 claim for failure to plead harm to competition in a relevant market.

(Op. 47-51.)

               Rather than address the District Court’s holding concerning their

failure to plead anticompetitive effects, Plaintiffs instead argue that they

adequately alleged that they have standing to bring their claim. (Br. 40.) But the

concept of “antitrust injury”—which concerns Plaintiffs’ standing to bring a

private antitrust action—is a different issue from whether a plaintiff has pleaded

harm to competition in a relevant market.

      A.       Plaintiffs Must Plead Harm to Competition.

               The Sherman Act proscribes only conduct that “unfairly tends to

destroy competition.” Spectrum Sports, Inc. v. McQuillan, 506 U.S. 447, 458

(1993). The Supreme Court has made clear that the first step to analyzing whether

a restraint violates Section 1 is the definition of the relevant market. That is

because “[w]ithout a definition of the market there is no way to measure the

defendant’s ability to lessen or destroy competition.” Ohio v. Am. Express Co.,


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138 S. Ct. 2274, 2285 (2018) (citation and internal quotations omitted); see also

Duty Free Americas, Inc. v. Estée Lauder Cos., 797 F.3d 1248, 1263 (11th Cir.

2015) (“To show that [a] defendant’s conduct caused harm to competition, ‘the

plaintiff must define the relevant market and establish that the defendants

possessed power in that market.’”) (quoting Maris Distrib. Co. v. Anheuser-Busch,

Inc., 302 F.3d 1207, 1213 (11th Cir. 2002)).

             Once the relevant market is defined, the plaintiff with a rule-of-reason

claim has the “initial burden to prove that the challenged restraint has a substantial

anticompetitive effect that harms consumers in the relevant market.” Am. Express,

138 S. Ct. at 2284; see also Spanish Broad. Sys., 376 F.3d at 1071 (“Under

Eleventh Circuit case law, alleged Section One agreements analyzed under the rule

of reason require a plaintiff to prove [] the anticompetitive effect of the defendant’s

conduct on the relevant market . . . .”) (emphasis added); see also Retina Assocs.,

P.A. v. S. Baptist Hosp. of Fla., Inc., 105 F.3d 1376, 1383 (11th Cir. 1997) (same);

Levine v. Cent. Fla. Med. Affiliates, Inc., 72 F.3d 1538, 1551 (11th Cir. 1996)

(same). Any “harms, even if real, are not ‘anticompetitive’ in the antitrust

sense . . . [if] they do not involve restraints on trade or exclusionary conduct in ‘the

area of effective competition.’” FTC v. Qualcomm Inc., 969 F.3d 974, 992 (9th

Cir. 2020) (quoting Am. Express, 138 S. Ct. at 2285).




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        B.   Plaintiffs Fail to Allege Any Harm to Competition in Their Alleged
             Markets.

             Plaintiffs allege the existence of two relevant markets: the “PFOF

Market” and the “No-Fee Brokerage Trading App Market.” (AAC ¶¶ 305-315.)

Plaintiffs define the “PFOF Market” as an “upstream” market consisting of

“market makers that pay brokerage firms to route their clients’ trades to that

market maker.” (Id. ¶ 306.) Plaintiffs allege that Citadel Securities, among others,

competes in this market. (Id.) Plaintiffs also allege a downstream “No-Fee

Brokerage Trading App Market” consisting of “zero account-minimum, no-fee

brokerages that 1) offer a user-friendly mobile app to Retail Investors to place

orders to buy and sell stocks, exchange-traded funds (ETFs), and other securities or

investments strategies such as trading on margin or using options strategies, and

2) receive payment for order flow from market makers instead of fees from Retail

Investors.” (Id. ¶ 312.) Plaintiffs allege that Robinhood competes in this market.

(Id. ¶ 313.)18 Having identified those markets, Plaintiffs must plead that “the



   18
      Robinhood notes that Plaintiffs have manufactured these two alleged
“markets” in a transparent attempt to define markets in which Citadel Securities
and Robinhood each allegedly have market power. An appropriate antitrust market
should be defined with reference to interchangeability and cross-elasticity of
demand. See Jacobs, 626 F.3d at 1337-38. Here, Plaintiffs do not (and cannot)
contend that there is no competition between market makers who do not pay PFOF
and those that do, or that there is no competition between Robinhood and retail
brokers who do not have “a user-friendly mobile app” (however that would be
determined). (See AAC ¶¶ 305-315.)

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challenged restraint has a substantial anticompetitive effect that harms consumers

in the relevant market.” Am. Express, 138 S. Ct. at 2284 (emphasis added); see

also Spanish Broad. Sys., 376 F.3d at 1071 (applying this requirement at the

pleading stage).

             This is where Plaintiffs’ claim fails. As the District Court properly

concluded, Plaintiffs do not allege harm to competition in either of their proposed

markets. (Op. 49-50.) First, Plaintiffs do not allege that the purported agreement

at issue reduced or had any impact on competition between Robinhood and other

brokers for customers in the alleged “No-Fee Brokerage Trading App Market.”

Indeed, as the District Court observed, even if there had been an agreement

between Defendants to limit Robinhood customers’ trades in the Relevant

Securities—and there was not—such agreement left all other brokers competing

with Robinhood in the alleged “No-Fee Brokerage Trading App Market” “free to

adopt or eschew any policy they desired with respect to the Restricted Securities—

or anything else, for that matter.” (Op. 50.) The purported agreement between

Robinhood and Citadel Securities did not create anticompetitive harm because it

“imposed no further restrictions on Retail Investors’ ability to trade with any of

Robinhood’s competitors.” (Id.); see, e.g., Gorlick Distrib. Ctrs., LLC v. Car

Sound Exhaust Sys., Inc., 723 F.3d 1019, 1026 (9th Cir. 2013) (finding plaintiff’s

allegation that market for certain automotive products was highly concentrated

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could not demonstrate anticompetitive harm because “[a] number of other

manufacturers . . . serve this market and provide substitutable products”).

             Similarly, Plaintiffs do not allege that the supposed agreement

reduced competition between Citadel Securities and other market makers for the

business referred to them by clearing brokers in the alleged “PFOF Market.” Thus,

Plaintiffs do not allege any conduct that “affect[s] the relevant product market, that

is, the area of effective competition.” Intergraph Corp. v. Intel Corp., 195 F.3d

1346, 1353 (Fed. Cir. 1999) (internal quotations omitted).

      C.     The Alleged Harm Is in a Different Market or Markets.

             Plaintiffs’ theory of harm is that Defendants’ alleged conspiracy

“artificially constricted the price appreciation of the Relevant Securities and

reduced the price of the Relevant Securities that Retail Investors either sold or held

below the prices they would have otherwise obtained in a competitive market free

of collusion.” (AAC ¶ 16.) Accordingly, as the District Court explained, “[t]he

products in question are the Relevant Securities, the prices of which were

negatively affected by the trading restrictions.” (Op. 50.) As a result, the Court

properly concluded that the “alleged anticompetitive injury occurred in entirely

separate markets” from the ones that they allege in the Amended Complaint: “the

markets for the Relevant Securities.” (Id.)

             A review of Plaintiffs’ complaint confirms that their only theory of


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harm is based on alleged price effects in the market or markets for the Relevant

Securities:

           Plaintiffs allege that Defendants “artificially constricted the price
            appreciation of the Relevant Securities and reduced the price of the
            Relevant Securities that Retail Investors either sold or held below the
            prices that they would have otherwise obtained in a competitive
            market free of collusion.” (AAC ¶ 16.)

           Plaintiffs also allege that Defendants harmed the “Plaintiffs and
            members of the Class” “[b]y forcing the Retail Investors to sell their
            Relevant Securities at lower prices than they otherwise would have
            sold.” (Id.)

           Plaintiffs further allege that “Defendants coordinated a collective
            shutdown of the stock brokerage market with respect to the Relevant
            Securities” and “[p]ursuant to the conspiracy, the restriction of stock
            purchases resulted in a sell-off of stocks, driving down prices in the
            Relevant Securities to levels that would not have been obtained, but
            for the conspiracy.” (Id. ¶ 407.)

These are all allegations that Plaintiffs got a lower price than they otherwise would

have for selling the Relevant Securities—i.e., allegations of price effects in the

markets for trading the Relevant Securities.

              But Plaintiffs “do not center their market definition around the sales

of the Relevant Securities.” (Op. 50.) As the District Court noted, one reason that

Plaintiffs may have decided not to allege a market for trading the Relevant

Securities may be that such a claim would be foreclosed by the “extensive body of

persuasive case law holding ‘that transactions in a particular stock do not fall

within [section] 1’ of the Sherman Act.” (Id. (quoting Kalmanovitz v. G. Heileman


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Brewing Co., 769 F.2d 152, 156 (3d Cir. 1985) (citations omitted)).)19 Plaintiffs

also do not allege—nor could they allege—that either Defendant had market power

in the markets for trading the Relevant Securities, or that Robinhood even

participated in those markets by buying or selling the Relevant Securities for its

own account.

              The mismatch between the defined markets (in which Plaintiffs allege

Defendants participated and had market power) and the markets in which the

alleged harm occurred (in which Plaintiffs do not allege Defendants participated or

had market power) is fatal to Plaintiffs’ claim because, as noted above, Plaintiffs

must allege harm to competition in a relevant market. See Am. Express, 138 S. Ct.

at 2284; Spanish Broad. Sys., 376 F.3d at 1071. Plaintiffs’ assertion that “it

matters [] not whether there is a connection between the defined markets and

where the harm occurred” (Br. 43) is directly contrary to controlling precedent

from this Court and the Supreme Court. The harm Plaintiffs allege, “even if real,

[is] not ‘anticompetitive’ in the antitrust sense . . . [if it] do[es] not involve

restraints on trade or exclusionary conduct in ‘the area of effective competition.’”


    19
       See Kalmanovitz, 769 F.2d at 156 (transactions “concerning the stock of a
single company” do not “constitute[] trade or commerce within the meaning of § 1
of the Sherman Act”); see also Bucher v. Shumway, 452 F. Supp. 1288, 1290
(S.D.N.Y. 1978) (dismissing Sherman Act § 1 claim based on tender offer because
“[t]he purchase and sale of shares by an investor does not fit comfortably within
this definition”), aff’d mem., 622 F.2d 572 (2d Cir. 1980).

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Qualcomm, 969 F.3d at 992 (quoting Am. Express, 138 S. Ct. at 2285).

             This Court analyzed a similar mismatch between the alleged relevant

market and the claimed market power and harm in Maris Distributing Co. v.

Anheuser-Busch, Inc., 302 F.3d 1207 (11th Cir. 2002). There, the court held that a

beer distributor did not establish a rule-of-reason claim where the defendant,

Anheuser-Busch, had a 48% market share in the manufacture of beer, but the

plaintiff alleged the anticompetitive effects occurred in the market for the purchase

and sale of equity interests in beer distributorships, in which Anheuser-Busch had

only a 1% to 3% market share. See id. at 1211. The court held that the “relevant

market” for the plaintiff’s claim was the purchase and sale of equity interests in

beer distributorships, id. at 1213-14, and “a defendant’s market share in a market

other than the alleged relevant market is irrelevant,” id. at 1215. The same holds

true here: Citadel Securities’ share in the alleged “PFOF Market” and

Robinhood’s share in the alleged “No-Fee Brokerage Trading App Market” are

irrelevant to the markets for trading in the Relevant Securities.

             Plaintiffs try to mask the market-jumping nature of their claim. This

attempt fails. First, Plaintiffs contend that the “conspiracy excluded Plaintiffs

from the No-Fee Brokerage Market and reduced output in that market.” (Br. 40.)

“Market exclusion” cases—including those that Plaintiffs rely on—involve harm to

competition caused by the exclusion of a competitor from the market. (Br. 41

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(citing Gulf States Reorganization Grp., Inc. v. Nucor Corp., 466 F.3d 961, 967-68

(11th Cir. 2006); Brunswick Corp. v. Riegel Textile Corp., 752 F.2d 261, 271 (7th

Cir. 1984)).) Plaintiffs do not—nor could they—allege that they competed in the

“No-Fee Brokerage Trading App Market.” No competitor was “excluded,” so this

theory of harm to competition makes no sense.

             Furthermore, a “reduction in output” refers to a reduction in product

volume to create an artificially high price for that product. See Brooke Grp. Ltd. v.

Brown & Williamson Tobacco Corp., 509 U.S. 209, 233 (1993)

(“Supracompetitive pricing entails a restriction in output.”). The product in the

alleged “No-Fee Brokerage Trading App Market” is the brokerage service

provided by Robinhood and other brokers. Here, there are no allegations that the

price for that brokerage service increased (nor could there be, as Robinhood’s

service remained free of charge to customers). (See, e.g., AAC ¶¶ 8, 69, 73.)

             Second, Plaintiffs argue that they were the targets of the alleged

scheme. This is where Plaintiffs improperly focus on antitrust injury. The issue is

not whether Plaintiffs have standing to bring a private antitrust claim for harm to

competition, but whether Plaintiffs allege competitive harm in a relevant market to

begin with. For example, Plaintiffs rely extensively on Blue Shield of Virginia v.

McCready, 457 U.S. 465 (1982). (Br. 45-46.) But Plaintiffs lack the core

allegation that the McCready plaintiff made—an agreement that harmed

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competition in the relevant market. In McCready, Blue Shield allegedly entered

into an agreement with the Neuropsychiatric Society of Virginia, in which Blue

Shield would reimburse its insureds for “selecting psychiatrists over psychologists

for the psychotherapeutic services they required.” Id. at 483. The scheme enacted

by Blue Shield (the insurer) and psychiatrists harmed competition in the therapy

services market (in which the psychiatrists competed) by excluding psychologists

who otherwise would compete with psychiatrists. Id. Similarly, Construction

Aggregate Transport, Inc. v. Florida Rock Industries, Inc., 710 F.2d 752 (11th Cir.

1983), involved a vertical arrangement that harmed competition in the construction

aggregate hauling market (in which the plaintiff and defendant’s subsidiary

competed), as well as the construction aggregate production market (in which the

defendant operated). Id. at 763-65. Thus (unlike here), there was alleged harm to

competition in the relevant market in that case. Id. at 779-80. The primary

question in each of those cases was whether participants in a separate market had

standing to challenge conduct that was properly alleged to have harmed

competition in a market in which they did not participate. That standing question

never even arises in this case because Plaintiffs are missing the threshold

allegations that there was any harm to competition in the defined markets in which

Robinhood and Citadel Securities each competes.

             Plaintiffs also analogize their claim to Loeb Industries, Inc. v.

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Sumitomo Corp., 306 F.3d 469 (7th Cir. 2002). (Br. 46-48.) But Loeb is not

analogous at all. Loeb involved a price-fixing scheme in the linked markets for

physical copper and copper futures, where prices are “directly linked” between the

two markets. 306 F.3d at 476-77. Sumitomo Corporation, which sold physical

copper, conspired with Global Minerals and Metals Corporation (“Global”), a

copper merchant, to artificially inflate the price of copper by (i) Sumitomo’s

buying physical copper from Global and hoarding the supply, and (ii) entering into

sham agreements to buy physical copper from Global to justify Sumitomo’s taking

large long positions in copper futures. Id. These actions inflated the price of

copper futures and also the “directly linked” price of physical copper, as there was

a limited supply of physical copper for short traders (Sumitomo’s counterparties in

the futures market) to use to cover when the contracts came due. Id. The court

found that “the defendants’ conduct was felt in two separate markets: the futures

market and the physical copper market,” and the plaintiffs in Loeb, purchasers of

physical copper, alleged harm to competition from the rise in prices in the physical

copper market, in which Sumitomo and Global participated. Id. at 483.

             That is not the case with Plaintiffs’ claim here. Unlike the defendants

in Loeb, Robinhood is not a competitor with market power in the market where the

alleged harm was felt (here, the markets for trading in the Relevant Securities).

Rather, as Plaintiffs allege, Robinhood competes with other brokers in the “No-Fee

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Brokerage Trading App Market” to provide retail brokerage services. (AAC

¶¶ 312-313.) Accordingly, the District Court’s decision to dismiss for the

additional reason that Plaintiffs fail to plead harm to competition in a relevant

market should be affirmed.

                                  CONCLUSION

             For the foregoing reasons, Robinhood respectfully submits that the

District Court’s Opinion should be affirmed.




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Dated: December 14, 2022

                                    Respectfully submitted,

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